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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND
                                 *
CRAIG STAMBAUGH                  *
                                 *
     Plaintiff                   *
                                 *
v.                               *    Case No.:
                                 *
ALLEN BOLTZ, et al.              *
                                 *
     Defendants                  *
                                                      *
******************************************************************************
                            NOTICE OF REMOVAL

           Defendants, Alan1 Boltz, Contract Transportation Systems Co. and The Sherwin-

Williams Company, by and through their attorneys, Inga O. Upshaw and Ryan, Drewniak &

Upshaw, P.A., pursuant to 28 U.S.C. §§1332, 1441, and 1446, request that this matter be

removed to this Court, and in support thereof state as follows:

                                           Procedural Background

           1.      The Plaintiff commenced this action by originally filing a Complaint and Demand

for Jury Trial against Defendants Alan Boltz, Contract Transportation Systems Co. and The

Sherwin-Williams Company in the Circuit Court for Baltimore County, Maryland, Case

Number: C-03-CV-22-001450. Copies of the Plaintiff’s Complaint and Demand for Jury Trial

(State Court Complaint and Demand for Jury Trial) and the Writs of Summonses (State Court

Writs of Summonses) directed to Defendants Boltz, Contract Transportation Systems Co. and

The Sherwin-Williams Company are being filed simultaneously with this Notice of Removal.

           2.      The instant litigation arises out of an automobile accident that occurred on the

night of July 3, 2019, between vehicles operated by Plaintiff Craig Stambaugh and Defendant


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    Defendant Alan Boltz was erroneously sued as “Allen” Boltz.
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Alan Boltz, when a sudden emergency was created by other vehicles that had just seconds earlier

collided and were blocking the travel lanes of the highway. The other vehicles that had collided

were unlit in the darkness further compounding the issue of a sudden emergency.           Plaintiff

asserts that he sustained injuries and damages as a result of the July 3, 2019 automobile accident.

See State Court Complaint and Demand for Jury Trial.

       3.      The Circuit Court for Baltimore County, Maryland, issued three (3) Writs of

Summonses for the Defendants on April 13, 2022. See State Court Writs of Summonses.

       4.      Plaintiff served Defendant Contract Transportation Systems Co. on April 28, 2022

via personal service.

       5.      Plaintiff served Defendant The Sherwin-Williams Company on April 28, 2022 via

personal service.

       6.      Defendant Boltz has not been formally served, though is effectively waiving

formal service of process by and through the filing of this Removal.

       7.      Plaintiff seeks to recover damages from the Defendants in an amount in excess of

Seventy-Five Thousand Dollars ($75,000.00), in compensatory damages, plus interest and costs.

See State Court Complaint and Demand for Jury Trial.

                    Statement of Satisfaction of Jurisdictional Requirements

       8.      Plaintiff Craig Stambaugh is a citizen of Maryland and resides at 3607 Mt.

Carmel Road, Upperco, Maryland 21155. See State Court Complaint and Demand for Jury Trial.

       9.      Defendant Alan Boltz is a citizen of the Commonwealth of Pennsylvania, and

resides at 30 Crosskey Road, Bernville Pennsylvania 19506.

       10.     Defendant Contract Transportation Systems Co. is an Ohio corporation with its

principal place of business located at 101 W. Prospect Avenue, Cleveland, Ohio 44115.
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          11.   Defendant The Sherwin-Williams Company is an Ohio corporation with its

principal place of business located at 101 W. Prospect Avenue, Cleveland, Ohio 44115.

          12.   The amount in controversy in the matter of Craig Stambaugh v. Allen Boltz, et al.

is in excess of Seventy-Five Thousand Dollars ($75,000.00) in compensatory damages, plus

interest and costs. See State Court Complaint and Demand for Jury Trial.

                  Statement of Eligibility for Removal to U.S. District Court

          13.   The amount in controversy in the matter of Craig Stambaugh v. Allen Boltz, et al.

exceeds $75,000.00, and there is complete diversity among the parties, thus satisfying the

requirements of 28 U.S.C. §1332(a)(1). Therefore, this Court has original jurisdiction over this

action.

          14.   This notice of removal has been filed within 30 days of service upon the first

notice of suit. See ¶4. This notice of removal, therefore, has been filed within 30 days of

Defendant, Contract Transportation Systems Co.’s receipt of documentation wherein it was

ascertained that this case was removable, thereby meeting the requirements of 28 U.S.C.

§1446(b).

          15.   This case has been removed within one year after the original commencement of

this action, thereby meeting the requirements of 28 U.S.C. §1446(b).

          16.   A copy of this Notice of Removal and Affidavit is being served on the Plaintiff

and filed with the Clerk of the Circuit Court for Baltimore County, Maryland.

          17.   Having met all requirements of 28 U.S.C. §1332(a)(1) and §1446, this action may

be removed to this Court pursuant to 28 U.S.C. §1441(a).




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       WHEREFORE, Defendants, Alan Boltz, Contract Transportation Systems Co., and The

Sherwin-Williams Company request that the above-captioned case be removed from the Circuit

Court for Baltimore County, Maryland.

                                                      Respectfully submitted,



                                                             /s/    Inga O. Upshaw
                                                      Inga O. Upshaw #05883
                                                      Ryan, Drewniak & Upshaw, P.A.
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                                                      Suite 201
                                                      Annapolis, Maryland 21401
                                                      (410) 897-9000
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                                                      Attorneys for Defendants
                                                      Alan Boltz,
                                                      Contract Transportation Systems Co., and
                                                      The Sherwin-Williams Company



                                          AFFIDAVIT

       I, Inga O. Upshaw, affirm under the penalties of perjury that I am the attorney for

Defendants Alan Boltz, Contract Transportation Systems Co., and The Sherwin-Williams

Company in the foregoing Notice of Removal; that I have prepared the foregoing Notice of

Removal; and that the facts set forth and contained therein are true and correct to the best of my

knowledge, information and belief.


                                                             /s/   Inga O. Upshaw
                                                      Inga O. Upshaw




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 17th day of May, 2022, a copy of the foregoing Notice

of Removal and Affidavit was sent via electronic transmission to the following counsel of

record:

          Lauren M. Geisser, Esquire
          Gilman & Bedigian, L.L.C.
          1954 Greenspring Drive
          Suite 250
          Timonium, Maryland 21093
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          Attorneys for Plaintiff
          Craig Stambaugh

                                                            /s/   Inga O. Upshaw
                                                     Inga O. Upshaw




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